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V9 6LTS AN MYOA MAN SS9 G1d14NOOUS SNVS S99 FAV Hidtd SHVS| LEOC/9T/L SvOv-SHSIP 1NO} yse7 NOSILUVS VNI131099
9S LT'LS AN YUOA MAN SS9-G15IdNOONS SVS $99 FAV Hidid SNVS LEOZ/OE/L SPOp-SUBIP INO} 3Seq _ NOSILUVS VN3131659
9CETS. VO WOD'SEN'd1SH OYMATdIYL. YaEN YIgN LTOC/9T/Z SvOb-SHSIP 4NOJ 1Seq NOSLLUVS VN314/8S9
SLEES VO  WOO'USEN'dISH AAWIZ didi. Yagn w3dn | LLOC/9T/Z SvOy-siSip inoj4se4 NOSILYVS ¥N393//59
ve 6S VO WOO'NSEN'd19H XIOSTIA SN» YEA yqgn ZLO¢/ST/Z GPOb-SHBIp 4NO} 1Sey NOSLLUVS VN293(959
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by'OEs IN _ 8S90-Ev<-ZEZ SOT HLS JUOOIN OV SOL SYOIS SUOOIN DV LTOZ/ET/6 | ShOv-SHSIP ino} ise} NOSILYVS VNI13|S62
e8'E8S _fN NVdVIVNVIN 60000000 S6# SNVINDIM S6SNVINDIM ZTOZ/ET/6 | StPOP-SUBIP Ino} 3sey NOSILUVS VNA131 762
00'¢STS {N JHONONTT SUVDSAS ATINVS NOINQ) 9d 3YVD JAZ ATIINVA NOINN ZE0Z/2T/6 | SOP-SUBIP Noy se} NOSILUVS VN314/£62
G6 25S fN OWOSTUVIN 798004 ADVINNVHd/SAD Z9800# ADVINEVHd/SAD £102/6/6 SvOp-sUsiIP sno} seq NOSILUVS VNI14/Z6/
O0'TL¢S (N NVdVIVNVIA 60000000 S6# SNVIND SM G6 SNVIND 3M ZT0¢/6/6 SvOP-SUBIP 3NO} Ise} NOSILYWS VN314 | T6/

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L6°8¢S VM TIS/INOO'NZIV WOD NOZVINV OITIWOD'NOZVINV | ZTOZ/E/OL | SPOP-SiSIpinojise], = NOSLLUVS. VNJ13/T98
22 LTS VM THE/WOO'NZWV WOD'NOZVINY DN INOD'NOZVINV|ZE0C/E/0T | SvOv-SIIBIP no} se) NOSLLYVS VNI13|093)

lOS9TS =| VM THIS/INOD'NZINV SLINd JOVId DIN NOZVINV Vd - VN JOVIdD NUVI NOZVINV ZT0Z/E/OT |  SpOr-SUSip ano} ise} NOSILYVS eee

TLECIS. | VM THIS/INOD'NZINV SLINd JOVId DIN NOZVINV Vd - VN JOVIdSIUVIN NOZVINV ZL0¢/C/0L | SOb-SUIP Ino} sey NOSILUVS ¥N313/8S8
66'6$ SQ NOAM MAN SANOODGNOTDGNNOS WVLSN/NSAQV|ZE0Z/T/OL |  SeOp-SUBIP no} yse) NOSILUVS VN313//58
1e9°0ZS {N OYOTINVIN. Z9800# ADVINUVHd/SAD) Z9800# ADVINUVHd/SAD ZEO¢/T/OE | SPOp-SUBIP inoj 1Se) NOSILUVS VN3141958|

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loss {N _- ONOPINVIN OLLVIS SDIAUAS TI3HS NOLLVLS 3OIAUSS TISHS ZEOC/T/OL —— SvOW-SIIBIP snoy yseq NOSHLUVS VN31417S3
8681S AN HOA MAN 0 9SEPT# IGVay INVNG 9SEVT SNIIUDIVM £E0Z/0E/6 | SbOP-SIIBIP indy ise] NOSLLYYS ae
90°98$ VM  TIS/NOONZAV ~~ WOO'NOZVINV STIWOD'NOZVINV £10¢/62/6 | ShOP-SHSIP no} 3Se) NOSLLUVS VN31912S8
S6CIS | VM _ — THS/INOO'NZINV SLINd JOVId LIN NOZVINV| Ve - VN SOVIddIUVIN NOZVINV ZT0¢/62/6 | SOP SiISIp anoy se] NOSILUVS VN373/193]
6661S | VM THE/INOD'NZIAIV SLINd 39V1d LIN NOZVINV | Vd - VN JOVIdDINVIN NOZVINV £10Z/62/6 | SpOr-SUISIP 1noj 3se7, NOSILUVS ¥N314 1/068.

‘lLy6cs VD  9ZEE-0EP-008 WOD LOd3GaINOH WOO LOdIG3INOH £10¢/62/6 = SvOb-SUSIP anoy se] NOSLLUVS VN313| 678
S60E$ VD  9ZLEE-OEP-008 NOD LOddG3INOH| WO) LOdIGIWOH Z10¢/6Z/6 | SPOP-SUIBIP 4nd 1se7_ NOSILUVS VNI14/8¢8

100'SS$ {N  ALIDASSHSE = 62 WEOIWNOXX3) ~—-ACISINO _1L'VD TISOIWNOXX3 ZT0Z/62/6 | SpOv-SUSip no} 3se7 NOSILUVS VNI13|Z¥8]

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ES'E9TS [N _ NVdVIWNVIN 60000000 S6# SNVIIDSM| S6SNVNDIM|Z10¢/62/6 | SvOb-S1IBIP 1noj 1se7 NOSILUVS VNG14| 723

106°€0¢S (N._- NVdVIVNVIN 60000000 S6# SNVIND IM S6SNVIDAM £E07/62/6 | SvOP-SUBIP sno) yseq NOSILUVS VN313IEP3 |
ps'0cS | VM THE/INOD'NZINIV SLINd FOV 1d LI NOZVIAIV Vd - VN JOVIdJIUVIN NOZVINV Z102/82/6 | StOb-SUSIp 1nd} Ise) NOSILUVS VN313|Z78
T9LES —N  ALIDASSUSS = Z6ZP IIOIWNOXX4, = AGISLNO LVD TIGOINNOXX3 Z10¢/82/6 = SvOb-SUSIP ino} Seq NOSILUVS VN31SI TPS:
00°SLZS AN. YYOA MAN Y3SVIGNVNDISVANE, «= LNJOYSSVIGNV NDIS VANS ZE0Z/Z2/6 | SvOb-SUBIP inoj se} NOSILUVS VNITS|0R8-
S0'8SZ$ VO. VIF1IO9 N3U INFINAVd ALY3dOUd| «= ENSU-LNGINAVd ALUSdOUd ZTOZ/Z2/6 = SvOb-SUSIP 4nOy jse} NOSILYVS VN314|6€8

ISS'ZOTS AN MYOAMAN = LORSIG WHOA LOIMISIG F1/ZE0Z/22/6 | SPOb-SUSIP ino; 1se7 NOSILYVS VNI13|8E8

|60°evs AN YYOA MAN YIN SSYNLNSA U3AONVH INVUNVISIY LOIMLSIGF1/ZT0Z/Z2/6 | SvOb-SUSIp 4noj 3se) NOSILUVS VNATSIZE8
0S'69$ | VM THS/INOD'NZINV SLING JOVId DIA NOZVIIV Vd - VN JOVIdINUVIA NOZVINY|ZT02/92/6 | ShOb-SHBIP Ino] 3se7 NOSLLUVS VNI73}9E8
ev'ves {N _ ALIDASSUST «= £627 WEOIWNOXX],) «= CISLNO LVD IIOWNOXX4 £10¢/92/6 | SvOP-SUBIp nj seq NOSILUVS VNATAISES

(89°6cvS {N  AOSINV HLNOS Z6ZPS SYIHLONS 13LVd SHYIHLONG 131Vd/Z502/92/6 | SOp-SUBIP sno yseq NOSILYVS YNATSI PEs
ve ves fN _ AOSINV HLNOS 6c#S SHIHLOUS 131d SUFHLOUG 1LVd ZT02/9Z/6 | SvOb-SUBIP sno yse} NOSILUVS VNSTAIEES
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gles AN YOA MAN VOVIAI DINOD! AMNAEININ | SANIZVOVIA DINODI AMATININ Z10z/9Z/6 | SvOb-SUBIp inoy Ise] NOSILYVS VNZ1S|TE8
§7'09$ VD WOO''NSEN'd13H OAGIO ddl, YaaN YaaN ZTOZ/9¢/6 | SpOp-SiSIp ino} yse7 NOSILUVS VNI14/0€8

|€z0ts VO WOO''SEN'd13H iGiX didl. YEN -YagN)ZT02/9Z/6 | SPOP-SHSIP Ino} seq NOSILUVS VN419|628
88°90$ VM _£668-£€6-008 HAI GivdiSOd JUGOWL YALTUGOW-L ZT0¢/SZ/6 | SvOb-SUSIP 40} 1se} ~ NOSILUVS VNI13[828

109°2$ AN VOIVINVE NOG NDINNG-SZTESE9| —s SZ TESEO-STIVAINNV Gd df ZT0Z/Sz/6 |  SvOv-SUBIP inoj ys]. NOSILYVS WN319IZ28
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SSS VM -VHS/INOD NZINV SLINd 30d LIN NOZVIAV Vd - VN JOVIdSNUVIA NOZVIA £L0¢/S/0E GvOr-SUSIp INO Ise} NOSILYVS VN343 898]
VCRs VD  9ZLEE-0EV-008 WO 1LO0d3qaINOH WO) 1Od303INOH | ZE0¢/S/0T SVOV-SHBIP INO} 1Se] NOSILYVS VNI13 198}
SVS VO 9Z€€-0EP-008 WO LOd3G3WOH WOD LOd3Q3INOH | ZE0¢/S/0T SPOP-SUSIP 10} yseq NOSILUVS VN31491998}
68°8S VD. _9LEE-0EV-008 WWO9 LOdadaINOH NOD LOd3G3WOH £10¢/S/0T SvOp-SUsip ino} se} NOSILUVS VN313|S98] -
90'88S VM... TUS/INOD NZIAY SLINd JOV Id LIN NOZVINV) Vd - VN SOV 1dIUVIN NOZVIAY ZE0¢//0T SvOP-SIBIP INO} 1Se9 NOSELYYS ie
6c VIS VM ‘THS/WNOD NZINV SLINd JOVId DIN NOZVINV Vd - VN S0V 1d DIVIN NOZVINV | £T02/0/0T SvOv-SUBIP INO} Ise] NOSILYVS YN3149 1698

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